           Case 1:23-cv-05194-GHW Document 22 Filed 07/05/23 Page 1 of 1

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UNITED STATES DISTRICT COURT                                                    ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                                   DOC #: _________________
 ----------------------------------------------------------------------- X      DATE FILED: 7/5/2023
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 MARK SULLIVAN,                                                          :
                                                                         :
                                                 Plaintiff,              :      1:23-cv-5194-GHW
                                                                         :
                              -against-                                  :           ORDER
                                                                         :
 PETER GELB, et al.,                                                     :
                                                                         :
                                                 Defendants.             :
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GREGORY H. WOODS, United States District Judge:

          As discussed during the teleconference held on July 5, 2023, Plaintiff’s motion to remand

and Defendants’ motions to dismiss are due no later than July 28, 2023. Plaintiff’s and Defendants’

opposition papers are due no later than three weeks following the date of service of the respective

motions; Plaintiff’s and Defendants’ reply papers, if any, are due no later than three weeks following

the date of service of the opposition papers.

         SO ORDERED.

Dated: July 5, 2023
       New York, New York                                          __________________________________
                                                                          GREGORY H. WOODS
                                                                         United States District Judge
